Case 4:22-mj-04042-RJD Document 1 Filed 09/02/22 Page 1 of 12 Page ID #1




                                             22-MJ-4042-RJD
Case 4:22-mj-04042-RJD Document 1 Filed 09/02/22 Page 2 of 12 Page ID #2
Case 4:22-mj-04042-RJD Document 1 Filed 09/02/22 Page 3 of 12 Page ID #3
Case 4:22-mj-04042-RJD Document 1 Filed 09/02/22 Page 4 of 12 Page ID #4
Case 4:22-mj-04042-RJD Document 1 Filed 09/02/22 Page 5 of 12 Page ID #5
Case 4:22-mj-04042-RJD Document 1 Filed 09/02/22 Page 6 of 12 Page ID #6
Case 4:22-mj-04042-RJD Document 1 Filed 09/02/22 Page 7 of 12 Page ID #7




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Case 4:22-mj-04042-RJD Document 1 Filed 09/02/22 Page 8 of 12 Page ID #8
Case 4:22-mj-04042-RJD Document 1 Filed 09/02/22 Page 9 of 12 Page ID #9
Case 4:22-mj-04042-RJD Document 1 Filed 09/02/22 Page 10 of 12 Page ID #10
Case 4:22-mj-04042-RJD Document 1 Filed 09/02/22 Page 11 of 12 Page ID #11
Case 4:22-mj-04042-RJD Document 1 Filed 09/02/22 Page 12 of 12 Page ID #12
